









Dismissed and Opinion filed July 3, 2002









Dismissed and Opinion filed July 3, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00330-CR

____________

&nbsp;

RONALD WINSTON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 183rd District Court

Harris
County, Texas

Trial
Court Cause No. 884,286

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Opinion filed July 3, 2002.

Panel consists of
Justices Hudson, Fowler, and Edelman. 

Do not publish ‑
Tex. R. App. P. 47.3(b).





